 

DISTRICT OF NEW JERSEY

UNITED STATES BANKRUPTCY COURT

 

Caption in Compliance with D.N.J. LBR 9004-2(c)

Janelly Landa, Esq. (ID #168652016)
SCHILLER, KNAPP,

LEFKOWITZ & HERTZEL, LLP

A LLP Formed in the State of New York
30 Montgomery Street, Suite 1205
Jersey City, New Jersey 07302

(518) 786-9069

Attorneys for Creditor, TD Auto Finance LLC

 

 

In Re:
SHARON K. EDDY,

Debtor.

Case No.: 18-19684-JNP
Hearing Date: February 25, 2020
Judge: Hon. Jerrold N. Poslusny

Chapter: 13

 

 

NOTICE OF CREDITOR'S MOTION FOR RELIEF FROM
AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(d)(1)
HEARING DATE AND TIME:

February 25, 2020, 10:00 AM

ORAL ARGUMENT IS REQUESTED IN THE EVENT
OPPOSITION IS TIMELY FILED

TO:

Sharon K. Eddy (Debtor)
811 Woodchuck Drive
Mount Laurel, New Jersey 08054

Brad J. Sadek, Esq.

Attorney for Debtor

Sadek and Cooper

1315 Walnut Street , Suite 502
Philadelphia , Pennsylvania 19107
19107

Isabel Balboa, Esq. (Trustee)
Cherry Tree Corporate Center
535 Route 38, Suite 580
Cherry Hill, New Jersey 08002

United States Trustee

One Newark Center

Suite 2100

Newark, New Jersey 07102
PLEASE TAKE NOTICE that on February 25, 2020, at 10:00 AM, or as soon thereafter as
counsel may be heard, Schiller, Knapp, Lefkowitz & Hertzel, LLP, attorneys for TD Auto Finance LLC ,
the within creditor ("Creditor"), shall move before the Honorable Jerrold N. Poslusny, United States
Bankruptcy Judge, at United States Bankruptcy Court, Mitchell H. Cohen U.S. Courthouse, Courtroom
4C, 400 Cooper Street, 4th Floor, Camden, New Jersey 08101, for an Order pursuant to 11 U.S.C.
§362(d)(1) granting such Creditor relief from automatic stay or, in the alternative, directing the Debtor,
above-named, to immediately provide for the adequate protection of any property subject to the interests
of such Creditor; for costs and disbursements of this action, and for such other and further relief as to the
Court may seem just and proper.

PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall rely on
the accompanying Certification of Janelly Landa, Esq. A proposed form of Order is also being submitted.
A Memorandum of Law has not been submitted because the issues raised by the Motion are not
extraordinary or unusual necessitating the filing of legal briefs.

PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the Motion
shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii) be filed with the
Clerk, United States Bankruptcy Court, United States Bankruptcy Court, Mitchell H. Cohen U.S.
Courthouse, 400 Cooper Street, 4" Floor, Camden, New Jersey 08101 and simultaneously served on
Creditor's counsel, Schiller, Knapp, Lefkowitz & Hertzel, LLP, 30 Montgomery Street, Suite 1205, Jersey
City, New Jersey 07302 (Attention: Janelly Landa, Esq.) so as to be received no later than seven (7) days

before the return date set forth herein.
PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served, the
Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief requested
may be granted without a hearing.

PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in accordance
with D.N.J. LBR 9013-1 (£) in the event opposition papers are timely filed.

DATED: January 30, 2020 TD AUTO FINANCE LLC

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